Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 1 of 7




            EXHIBIT B
    Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 2 of 7




                               Exhibit "A"

                              (See Attached)




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         Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 3 of 7




THIS PURCHASE ORDER ("Order") lS EXPRESSLY                    (collectively, "Laws"); (d)all claims concerning the
CONDITIONED ON ACCEPTANGE OF THE TERMS                        Merchandise made by Vendor and its agents are, and
AND CONDITIONS HEREOF. Oral or wr¡tten notice                 will be, true and correct at the time such claims are
of acceptance by the vendor specified on the face             made and supported by data which comply                 with
hereof ("Vendor"), preparation to perform by                  applicable Laws; (e) where applicable, reasonable and
Vendor and/or shipment of all or any part of the              representat¡ve tests     as   prescribed    by   Laws     or
merchandise specified in this Order                           governmenlal authorities have been performed or will
("Merchandise") shall const¡tute acceptance by                be performed before shipmenl from Vendor to             the
Vendor of the terms and conditions contained                  warehouse designated by Buyer (the "Warehouse'); (f)
herein. BY ACCEPTANCE OF TH|S ORDER,                          all Merchandise furnished hereunder: shall be new, first
VENDOR REPRESENTS AND AGREES AS                               quality merchandise;        shall      conform     to    all
FOLLOWS:                                                      representations and/or specifìcations made by Vendor;
                                                              shall conform to all inslructions intended for
1, lf the shipping or delivery dates set forth on the face    customers; shall conform to the Vendor samples given
hereof cannot be met, Vendor will promptly inform             lo Buyer; shall be free from all defects (including latent
QVC, lnc. or the subsidiary of QVC, lnc. specified on         defects) in workmanship, material and design; and
the face hereof, as applicable, ("Buye/') in writing, and     shall not be reworked, rebuilt or refurbished
at Buyer's offices in West Chester, Pennsylvania, of          merchandise; (g) all manufacturers' warranties are
Vendois best possible shipping or delivery dates which        effective and enforceable by both Buyer and ils
shall become part of this Order, if at all, only upon         customers; (h) all lP Rights and/or Promotional
Buyer's writlen acceptance thereof.                           Material, and/or any component thereof, are valid and
                                                              genuine, and the manufacture, use, sale, promotion,
2. Vendor hereby grants to Buyer the irrevocable right,       marketing, and performance of the Merchandise and/or
by all means now or hereafter existing, to: (a) promote,      Promotional Maferial, and/or any component thereof,
market, and sell      the   Merchandise;    (b) use    the    will not infringe upon any domestic or foreign lP Rights,
trademarks, lrade names, lrade dress, service marks,          rights of privacy or publicity and/or any other third party
designs, logos, patents, copyrights and/or other              rights, or cause Buyer to be liable to Vendor or any
intellectual property rights (collectively the "lP Rights")   third party for any additional fees, costs or expenses; (i)
registered, owned, licensed to or used by Vendor in           the title of Vendor to the Merchandise is good and free
connection with the manufacture, use, promotion and           and clear of all encumbrances and l¡ens, and its
sale   of the Merchandise; (c) use, perform,          play,   transfer hereunder rightful; O neither the Merchandise
synchronize and/or demonstrate, as applicable, (i) the        nor any component part thereof is subject to any import
Merchandise     and its contents, and/or (ii)          any    quota restr¡ction, rule or regulation preventing or
promotional, advertising or similar material supplied by      forbidding the importation, use, promotion for sale or
Vendor    or Vendor's authorized agent for use in             sale of the Merchandise or any component part thereot
connection with such Merchandise, including                   or any duty, tariff, or penalty in connection therewith,
promotional materials on Vendo/s website(s)                   except as previously disclosed in writing by Vendor to
(coilectively, "Promotional Material"); and (d) use the       Buyer; (k) the Merchandise and similar goods are not,
names, photographs, likenesses, voices and/or                 and have not been, subject to actual or alleged product
biographies of any individuals performing in or               liability or infringement claims, and Vendor is not aware
otheruise associated with the Merchandise, its                of any facts or circumstances that could reasonably be
contents and/or any Promotional Material. Buyer               expected to give rise to any such claims, except as
makes no representations with regard to the number of         disclosed on the face hereof; (l) the same or similar
times, if any, that Merchandise will be marketed or           merchand¡se is not being and will not be offered to any
promoted by Buyer.                                            other purchaser at a lesser cost or under more
                                                              favorable terms than appear herein; (m) at Buyer's
3. ln addition to and without prejudice to any and all        request, Vendor shall supply, at Vendor's sole
other warranties, express or implied by law, Vendor           expense, a product spokesperson subject to
represents, warrants and covenanls lo Buyer that (a)          reasonable availability; and (n) Vendor shall maintain
Vendor possesses all licenses, permits, rights, powers        for the life of the      Merchandise general liability
and consents required to enter into and perform this          insurance coverage on the Merchandise, including full
Order, to sell to Buyer the Merchandise referenced            product liability and advertising injury, in the amount set
herein and to grant to Buyer the rights granted herein;       forth in the Regulations and Standards (as defined        in
(b) Vendo/s performance hereunder does not violate            Section 20 herein), with carriers acceptable to Buyer,
any agreement, instrument, judgment, order or award           and which shall include broad form Vendor's coverage
of any court or arbitrator; (c) all Merchandise furnished     in favor of Buyer, and Vendor will promptly provide
hereunder, including the production, sale, packaging,         Buyer with a certificate of insurance evidencing such
labeling, safety, testing, importation and transportation     required insurance coverage and naming Buyer as an
thereof, and all representations, adverlising, prices, and    additional insured. Vendor agrees to provide Buyer with
allowances, discounts or other benefits made, offered         any and all documents requested or required by Buyer
or authorized by Vendor in connection therewith, shall        at any time and from time to time to support the
at all times comply with all applicable federal, state,       representations, warranties     and covenants       herein
local, industry and foreign statutes, laws, rules,            contained.
regulations and orders, standards and guidelines
         Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 4 of 7




4. Vendor hereby agrees to protect, defend, hold             Vendor (or any person or entity affiliated with Vendor),
harmless and indemnifu Buyer, its subsidiaries and           which costs shall be charged to Vendor or deducted
afflliates, and each of their respective customers,          from amounls due to Vendor, at Buyer's option. The
programming and other distributors, employees,               rights and remedies granted to Buyer under this section
agents, off¡cers, directors, successors and assigns,         are in addition 1o, and not in lieu of, any and all other
from and against any and all claims, actions, suits,         rights and remedies granted to Buyer under this Order
costs, liabilities, damages and expenses (including,         and othen¡vise available to Buyer under law or in equity,
without limitation,   all   direct, spec¡al, incidental,
exemplary and consequential damages and losses of            5. Time is of the essence. Buyer reserves the right to
any kind (including, without limitation, present and         retain any funds due Vendor             as security for
prospective   lost profìts and lost business)         and    indemniflcation and/or cancel this Order or any part
reasonable attorneys' fees) based upon or resulting          hereol with no liability or obligation to Vendor, in the
from: (a) any alleged or aclual infringement of the lP       event: (a) Buyer is notified that any Merchandise or lP
Rights, rights of publicity or privacy and/or any other      Right ¡nfr¡nges or is alleged to infringe upon any third
third party rights arising from the sale, promotion of the   party rights; (b) Vendor breaches or is anticipâted to
sale and/or performance    of the Merchandise, its           breach this Order; (c) Merchandise conforming to
contents and/or    the Promotional Material; (b) any         specifications will not be shipped or delivered on the
alleged or actual defect in any of the Merchandise; (c)      dates and in the quantities specified on the face hereof;
any alleged or actual injury or death to person or           (d) fìre, flood, windstorm, earihquake, war, act of
damage to property arising out of the furnishing, use or     terrorism, strike, or any other casualty or occurence of
performance of the Merchandise; (d) breach by Vendor         a similar nature substantially and adversely affects
of any representations, warranties or covenants; (e)         Buye/s premises or business; or (e) any substantial
any alleged or actual violation by Vendor and/or the         change   to Buyer's business (for       whatever reason)
Merchandise of any applicable Laws; and (f) any other        occurs. ln the event Buyer reasonably determines
breach by Vendor of the provisions of this Order. ln the     that any Merchandise sold by Buyer to its customers
event Buyer notifies Vendor in writing of a claim,           contains any defect and/or violates any Laws, Buyer
demand, action, suit or other matter ("Claim") to which      may, in its sole discretion, subject to applicable law,
the foregoing indemnity applies, Vendor shall, within        determine (i) whether a volunlary recall or other
five (5) days after receiving Buyels notice of such          corrective action is necessary or appropriate, (ii) the
Claim, (i) provide prompt assurance, to Buyer's              scope of any such voluntary recall andior other
reasonable satisfaction, of Vendor's ability to so           corrective action, and (iiD the course of action to be
indemniff Buyer, and (ii) commence to defend such            taken (which will be at Vendor's sole expense) to
Claim, at Vendor's sole cost and expense. ln the event       effect such voluntary recall or other corrective action
that Vendor fails to timely meet its obligations set forth   (including the determinalion as to whether Buyer's
in the immediately preceding sentence, Buyer may, at         customers will be offered a replacement item of
its option, assume the defense or settlement of such         Merchandise or a refund of their purchase price and
Claim in its own name and all recoveries from such           shipping and handling charges). The rights of Buyer in
Claim shall belong to Buyer. ln the event Buyer makes        the foregoing sentence shall be in addition to any and
such a recovery, said recovery shall be in addition to       all rights of Buyer contained in this Order.
any and all other rights Buyer may have at law or in
equity, Buyer may elect counsel to represent it, and         6. Merchandise shipped or delivered to the Warehouse
Vendor shall be solely responsible for the payment or        prior to the first permitted ship or delivery date specified
reimbursement, at Buyer's option, of counsel fees and        on the face hereol may, at Buyer's option, be returned
all other fees and costs incurred in defending such          to Vendor, at Vendor"s risk and expense, and upon
Claim, for any and all damages arising thereunder, and       such return, shall be held by Vendor for Buyer until
for any and all amounts paid by Buyer in settlement          shipment     or   delivery   on the specified date.
thereof. Buyer shall have lhe right, at Buyer's opt¡on, to   Merchandise shipped or delivered to the Warehouse
withhold from any paymenls due or which may become           after the last permitted ship or delivery date specified
due to Vendor an amount (determined in Buye/s                on the face hereof may, at Buyer's option, be returned
reasonable discretion) sufficient to cover all potential     to Vendor, at Vendofs risk and expense, and upon
damages, losses, costs and legal fees that may be            such return, Buyer may cancel this Order, in whole or in
suffered by Buyer as a result of any Claim received by       part, without liability. Unless otherwise stated on the
Buyer, its subsidiaries and/or affìliates. Once such         face hereof, Vendor shall ship the Merchandise in one
Claim   is resolved, appropriate adjustments will be         shipment. ln the event of shipment or receipl of an
made in accordance with this Order, and any withheld         unauthorized guantity, Buyer may, at its option, either
monies then due lo Vendor shall be paid to Vendor or         reject  or accept the entire shipment unless partial
credited to Vendor or deducted from amounts due to           shipments are authorized on the face hereof. Additional
Vendor, at Buyer's option, or any additional monies          freight charges resulting from partial shipments shall be
then owed by Vendor shall be charged to Vendor, at           borne by Vendor. Partial shipments shall not cause
Buyer's oplion, as applicable. ln addition, Vendor shall     Vendor's obligations         to   become severable.
be responsible for all costs of any kind incurred by         Notwithstanding Buye/s designation of a Warehouse,
Buyer in responding lo any discovery or legal process        Buyer shall have the right at any time in its sole and
served upon Buyer, its subsidiaries and/or affiliates in     absolute discretion to speciff a subslitute place of
connection with litigation between a third party and         delivery for any Merchandise and may divert such
         Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 5 of 7




Merchandise in transit to such new delivery location, in      required by Buyer to facilitate return of Merchandise for
each case, without the authorization of Vendor. Unless        any Merchandise Buyer elects to return lo Vendor.
otherwise stated on the face hereof, Vendor shall pay         Merchandise relurned or rejected by Buyer is not to be
or reimburse Buyer, at the direction of Buyer, for all        replaced by Vendor without the prior written approval of
freight, packing and insurance incident to the shipment       Buyer. Vendor acknowledges that the Buyer does not
of lhe  Merchandise, including, without limitation,           inspect each item at receipt of Merchandise and that
loading and unloading charges, mileage charges,               defects, imperfections     or   nonconformity with any
taxes, tolls and other fees. Vendor agrees to follow          representations, warranties     or covenants set forth
Buyer's instructions with respect to shipment, routing        herein may not        be   discovered    by   Buyer   until
and packaging. Vendor's failure to comply with the            Merchandise shall have been purchased by its
terms and conditions set forth in this Section or in          customers and returned to Buyer. Buyer's inspection,
Buye/s Regulations or Standards, may, at Buyer's              discovery of a breach of warranty, failure to make an
option, result in lhe imposition of charges as set forth in   inspection or failure to discover a breach of wananty
such documents. ln addition, any breach by Vendor of          shall not constitute a waiver of any of Buyels rights or
the provisions of Section 3(d) hereof shall result in the     remedies whatsoever.
imposition of charges upon Vendor for all costs
incuned by Buyer as a result of such breach (including,       8. lf a percentage greater than zero is indicated in the
without limitation, the cost of customer refunds and all      "Sale or Return" designation on the face hereof, then
administrative costs). Any charges assessed as set            this is a "sale or return" transaction as defined in the
forth herein may be deducted from any amounts due or          Uniform Commercial Code as enacted in Pennsylvania,
which may become due to Vendor.                               13 Pa. C.S., Division 2. ln addition to its right to return
                                                              Merchandise as provided elsewhere in this Order,
7. Merchandise furnished hereunder; (a) which is not in       Buyer may return to Vendor, for credit or óash, at
compliance with the Laws, this Order, the Regulations         Buyeis option, all or any portion of the following: (a)
or the Standards; (b) which is returned by any of             with respect to "sale or return" lransactions only, any
Buye/s customers for any reasoni (c) for which the            Merchandise which is not sold by Buyer up to the
corresponding customer order is cancelled by any of           percentage indicated in the "Sale or Return"
Buye/s customers for any reason; (d) which          has       designation on the face hereof (based on the
expired; (e) which fails to meet Buyer's quality control      aggregate amount of this Order) within sixty (60) days
tests; (0 which fails to meet Buyer's carrier's quality,      after remittance   of the Subsequent Payment (as
drop or other tests; or (g) which is or may be used in        defined   in Section 13 herein) or, if no Subsequent
conjunction with merchandise furnished and rejected           Payment, within one hundred and eighty (180) days
(or acceptance thereof revoked) under this Order or           after remittance of Buyer's lnitial Paymenl to Vendor
another order, may be rejected (or acceptance thereof         (as defined in Section 13 herein); and (b) with respect
by Buyer revoked) at Buyer's option and returned lo           to all transactions, any Merchandise which has been
Vendor,  All expense of unpacking, examining,                 sold to and then returned by customers at any time.
repacking, storing, returning and reshipping any              The expenses incident to the relurn of Merchandise to
Merchandise rejected (or acceptance of which has              Vendor under the foregoing clause (a) shall be paid by
been revoked) as aforesaid shall be at Vendo/s                Buyer, unless otherwise specified on the face hereof.
expense and risk. With respect to such returned               The expenses incident to the return of Merchandise to
Merchandise or identical merchandise purchased                Vendor under the foregoing clause (b) shall be paid or
under a separate purchase order, Buyer shall, at its          reimbursed by Vendor in accordance with Section 7 of
option, receive a credit or refund equal to the average       this Order. Buyer is not obligated to pay for any
cost of amounts paid by Buyer for each item of such           Merchandise returned to Vendor and is therefore
Merchandise, or other identical merchandise, including,       entitled to an immediate and full refund of any and all
without limitation, in-bound freight charges                  monies previously paid to Vendor on account of such
(notwithstanding contrary Freight Terms, if any, set          returned Merchandise. Buyer reserves the right to
forth on the face hereof). ln the event that Buyer shall      require full refund prior io the return of Merchandise
opt to receive   a refund, Vendor shall pay      Buyer in     pursuant to this Section. Vendor shall provide a return
immediately available funds within ten (10) days of           authorization and other information as required by
Buye/s request. Buyer reserves the right to require full      Buyer to facilitate return of Merchandise. lf Vendor fails
refund prior to the return of Merchandise pursuant to         or refuses to make arrangements for the return of
this Section. ln the event that Buyer shall opt to receive    Merchandise satisfactory to Buyer within five (5) days
a credit, Buyer may apply such credit toward any              of Buye/s request to return such Merchandise, Buyer
amounts due or which may become due to Vendor.                may, but shall not be required           to, make     such
Vendor agrees that Merchandise rejected or returned           arrangements on Vendo/s behalf and at Vendo/s risk
for any reason pursuant to the terms of this Order,           and expense. lf Vendor fails or refuses to accept any
whether or not such rejection is disputed by Vendor,          returned Merchandise and/or to remit such refund to
will not be resold or otherwise distributed by Vendor         Buyer in a timely manner and in accordance with the
unless all labels or other characteristics identiffing        terms of this Order, Buyer may debit such amount
Buyer and/or displaying any trade name or trademark           against Vendo/s account and/or take such other action
of Buyer have been first removed. Vendor shall, within        as it may deem necessary or desirable to recover the
five (5) days of Buye/s request therefor, supply Buyer        monies owed by Vendor. Buyer may also, at its option
with a return authorization and other information as          and in its sole discretion, dispose of such Merchandise
         Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 6 of 7




at any time and in any manner whalsoever and deduct            13. Unless specified otherwise on the face hereof, the
from the proceeds thereof any and all losses,                  time for payment shall begin to accrue upon receipt of
damages, claims, cost and expenses suffered or                 Merchandise at the Warehouse or receipt of invoice,
incurred by Buyer in connection with such                      whichever occurs later. lf pay terms are set forth in both
Merchandise. The rights of Buyer set forth in this             the "lnitial   Payment"   and 'Subsequent       Payment"
Section are in addition to, and not in lieu of, any and all    designations on the face hereof, then (a) the "lnitial
other rights and remedies available to Buyer pursuant          Payment" designation sets forth the terms of Buyer's
to this Order, applicable law or in equity.                    initial payment to Vendor for the Merchandise received,
                                                               which payment will be the aggregate purchase price for
9. lf a percentage greater than zero is indicated in the       such Merchandise less the Reserve (as defined in
"Payment Reserve" designation on the face hereof,              Section 9) and any other holdbacks permitted herein
then Buyer will withhold an amount equal to such               and adjusted for any credits, debits, customer returns,
percentage of the aggregate purchase price set forth           refunds, allowances and unsold Merchandise (where
on the face hereof (the "Reserve') from its          lnilial   applicable) as of the time of such payment (collectively,
Payment and/or Subsequent Payment,             at Buyer's      "Adjustments"), and (b) the "Subsequent Payment"
option, to Vendor for the Merchandise, in anticipation of      designation sets forth the terms of any subsequent
customer returns and, if a "sale or relurn" transaction,       payment due from Buyer to Vendor, which payment will
the return of unsold Merchandise to Vendor. Wth                be the Reserve after Adjuslments. lf no payment terms
respect to the portion of the Reserve allocable to             are set forth in the "Subsequent Payment" designation,
customer returns, if the aggregate amount of such              then the "lnitial Paymenf' will be the aggregate
returns exceeds the Reserve amount, then such                  purchase price for such Merchandise after Adjustments
excess shall, at Buyer's option, be immediately debited        (less any holdbacks permitted herein, which holdbacks
against Vendo/s account or paid by Vendor to Buyer             will only be paid to Vendor as provided elsewhere       in
within fifteen (15) days of receipt of Buyer's request for     this OrdeQ. Payment of all or any portion of the invoice
such payment, and if the aggregate amount of such              does not constitute acceptance of any Merchandise
returns is less than the Reserve amount, then the              covered by this Order and is without prejudice to any
remaining balance         ofthe Reserve allocable to           and all rights, remedies, claims or defenses of Buyer
customer relurns shall, at Buyer's option, be credited to      against Vendor and/or any third party.
Vendofs account or paid to Vendor. The foregoing is in
addition to (and not in lieu of) Buyer's right to withhold     14. Until date of shipment or delivery to Buyer, Vendor
monies due or which may become due to Vendor as                shall meet its lower prices and the lower prices of
provided elsewhere in this Order.                              legitimate competition, or accept cancellation at Buye/s
                                                               option. Buyer, in its sole discretion, shall delermine the
10. Vendor shall not assign this Order, or any part            price at which Merchandise shall be offered for sale to
hereof, without the prior written consent of Buyer, and        its cuslomers and shall retain all handling and shipping
any such attempted assignment shall be void at the             charges collected from its customers.
election of Buyer. All claims for money due or to
become due from Buyer shall be subject to deduction            15. For      purposes   of this Order, "Confidential
by Buyer for any set-off, recoupment or counterclaim           lnformation" means any agreement between Buyer and
arising out of this Order or any olher of Buyer's orders       Vendor, all information in whatever form transmitted
or agreements wilh Vendor, whether such set-off,               relating to the past, present or future business affairs,
recoupment or counterclaim arose before or after any           including, without limitation, the sale or pricing of
assignment by Vendor.                                          Merchandise, customer lists   and other customer
                                                               information, research, development, operations,
11. ln addition to any other charges due to Buyer from         security, broadcasting, merchandising, marketing,
Vendor under this Order, effective with Merchandise            distribution, financial, programming and data
shipped to Buyer on or after February 1, 2011, Buyer           processing information of Buyer or another party whose
will recoup from Vendor a charge equal to 0.75o/o ol           information Buyer has        in its   possession under
Buye/s Order price for each unit of such Merchandise           obligations of confidentiality, which is disclosed by
shipped and received by Buyer (each, a "QPlatforms             Buyer, its subsidiaries, affiliates, employees, agents,
Deduction"). QPlatforms Deductions will be recouped            officers or directors to Vendor or which is produced or
by Buyer regardless of the subsequent disposition of           developed during the working relationship between the
the Merchandise, including, without limitation, any and        parties. Confidential lnformation shall not include any
all returns of such Merchandise lo Vendor for any              information  of Buyer that is lawfully required to be
reason, without credit or refund to Vendor.                    disclosed by Vendor to any governmental agency or is
                                                               othenryise required to be disclosed by law, provided
12. Vendor shall have one (1) year after the date any          that before making such disclosure Vendor shall give
charge is assessed under lhis Agreement, to object to          Buyer   an     adequate opportunity     to   interpose an
such charge(s), which may include, without limitation          objection or take action to assure confidential handling
charge-backs, set-offs, offsets, refund or deductions.         of such information. Vendor shall not disclose any
Should the Vendor fail to object lo any charge(s) within       Confidential lnformalion to any person or entity except
such one (1) year period, such charge(s) shall be              employees of Vendor as required in the performance of
binding on the parties.                                        their employment-related duties in connection with this
                                                               Order, nor will Vendor use the Confidential lnformation
           Case 2:19-cv-04773-CFK Document 1-5 Filed 10/15/19 Page 7 of 7




for any purpose other than those purposes expressly
contemplated herein. Vendor shall not use any                20. This Order, together with (a) any other written
information obtained from Buyer's customers (e.9.,           warranties      and   specifications,(b)Buye/s shipping
through warranty cards or otherwise) to offer for sale to    regulations (including, without limitation, Buyer's
such customers any goods or services. Vendor shall           chargeback program), Buyeis supplier code of conduct
not include with any Merchandise, any infonnation that       and Buye/s return policies, in each case, as in effect
would enable Buyer's customers         to acquire, either    from time to time (collectively, the "Regulations") and
directly or indirectly, any additional merchandise from      (c) any applicable standards provided by Buyer to
persons other than Buyer without first obtaining Buyer's     Vendor from time to time, including, without limitation,
written consent. ln the event of a breach or lhreatened      Buyer's standards regarding the use of "conflict
breach     of this Section by Vendor, Buyer shall be         minerals" as defined in the Dodd-Frank Wall Street
entitled   to obtain from any court of competent             Reform and Consumer Protection Act (12 U.S.C, S
jurisdiction, preliminary and permanent injunclive relief,   5301 et seq.) (collectively, the "Standards"), which
including, without limitation, temporary restraining         Regulalions and Standards are incorporated herein by
orders, which remedy shall be cumulative and in              reference,, constitute the full understanding of the
addition to any other rights and remedies to which           parties hereto and a complete and exclusive statement
Buyer may be entitled. Vendor agrees that              the   of the terms of the parties' agreement concerning the
Confidential lnformation referred to in this Section is      Merchandise furnished hereunder. Vendor
valuable and unique and that disclosure or use thereof       acknowledges      that copies of Buye/s          current
in   breach   of this Section will result in   immediate     Regulations and Standards may         be accessed    on
irreparable injury to   Buyer. Vendor shall inform those     Buyer's vendor portal located at
persons     or entities having access or     exposure to     https:/lvendorportal.avc.com/my.ooliey and are
Conldential lnformation hereunder,          of  Vendo/s      available to Vendor upon written request to Buyer.
obligations under this Section.
                                                             21. No      condition, understanding     or   agreement
16. This Order, and all matters arising out of or            purporting to modiff or vary the terms of this Order
relating to this Order, shall be governed by the laws of     shall be binding unless hereafter made in writing and
the Commonwealth of Pennsylvania applicable to               duly executed by the party       lo be bound, and no
contracts to be performed wholly therein, regardless         modification shall be effected by the acknowledgment
of place of acceptance. Vendor and Buyer expressly           or acceptance of this Order or of invoices, shipping
exclude the application of the United Nations                documents or other documents containing terms or
Convention on Contracts for the lnternational Sale of        conditions at variance with or in addition lo those set
Goods, if applicable. Vendor hereby consents to the          forth herein.
exclusive jurisdiction of the state courts of the
Commonwealth        of Pennsylvania for the County of        22. Notwithstanding any legal presumption to the
Chester and the federal courts for the Eastern District      contrary, the covenants, conditions, representations,
of Pennsylvania for all claims arising out of or relating    indemnities and warranties contained in this Order,
to this Order, or any breach hereol including, without       including, without limitation, Sections 3, 4,7 and 14
limitation, any conlract, equity, tort, fraud or statutory   hereof, shall survive inspection, delivery, acceptance
claims hereunder. Vendor hereby irrevocably agrees           and payment, shall be binding upon Vendor and its
to service of process by certified mail, return receipt      successors and permitted assigns, and shall run in
requested, to its address as set forth on the face of        favor of Buyer and ils successors and assigns.
this Order or to such other address as Vendor may
deliver to Buyer in writing.                                 Revised 1012014

17. No waiver by Buyer of any term, provision or
condition hereof shall be deemed to constitute a waiver
of any other term, provision or condition of this Order,
or a waiver of the same or of any other term, provision
or condition with regard to subsequent transactions or
subsequent parts of the same transaction, including,
without limitation, subsequent shipments under this
Order.

18. lf any provision contained in this Order shall be
determined to be unenforceable or prohibited by law,
then such provision shall be void, and the remaining
provisions herein shall not in any way be affected or
impaired thereby.

19. Vendor shall not issue any publicity or         press
release regarding Buyer or Buyer's activities hereunder
without first obtaining Buyer's prior written approval and
consent to such release.
